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                                                           U.S. Department of Justice
                                                           United States Attorney
                                                           Eastem Dishict of Louisiana

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   Chief, Ccneral Chncs                                    651) l\Dtlmr $trca. \illtc l60tt
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                                                           May 21, 2024


    Honorable Nannette Jol ivette Brown
    United States District Judge
    Eastern District of louisiana
    500 Poydras Street
    New Orleans, Louisiana 70130

         Re:              United Staesv. Prive Overseas lutarine od Prive Shipping.
                          Criminal Docka No. 24-74

    Dear Judge Brown:


            In compliance with the holding of Bryan v. United States, 492 F.2d 775 (5th Cir. 1974)
    and with Rule I I of the Federal Rules of Criminal Procedurc, the U.S. Aftomey's Office for the
    Eastem District of Louisiana and the Environmental Crimes Section of the U.S. Departrnent of
    Justice ("Govemment") wish to acknowledge the fbllowing Agreement between the Govcmment
    and PriveOveneas Marine ('Prive Overseas") and Prive Shipping DenizcilikTicaretA.S. ("Prive
    Shipping") (collectively "Defendants") in the above-captioned criminal proceeding.

           Defendants' undersigned counsel, have reviewed the terms of this Agreement, have been
    advised by authorized corporate officers for each defendant and their parent corporation, Prive
    Holding, that they fully understand the terms of this Agreernent, and that the undersigned
    corporate representatives have been duly authorized to enter into this Agreement.

            Crirninal Charges: Defendants, having been advised through their counsel ofthe charges,
    agree to enter pleas of guilty to Counts I - 4 of the Bill of Information filed in the Eastern District
    of Louisiana as set forth below:



                                                  Page I   ofll
                                                                                        Prive Overseas Marine
                                                                                               Prive Shipping
                                                                                                Prive Holding
                                                                                              Defense
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            Count I : Conspiracy, in violation of I I U.S.C. g 371   .




            Count 2: Knowing failure to maintain an accurate Oil Record Book in U.S
            waters, in violation of the Act to Prevent Pollution from Ships, 33 U.S.C. $
             1908(a).

             Count 3: Obstruction of Justice, in violation of I8 U.S.C. $ 1505.

             Count 4: Obstruction of Justice, in violation of I 8 U.S.C. g l5 19.

          Defendartts'Adrnission of Guilt: Defendants are pleading guilty because each is guilty
   and wishes to acknowledge its acceptance of responsibility for the criminal conduct described in
   the Bill of lnformation and Joint Factual Statement that appears as A.SSSXEgUI.1I to this
    Agreement.

            Maximum Fincs and Penalties: Defendants further understand and agrce that as an
    organizational defendant the maximum penalty for each count is $500,000, or, if greater, a fine of
    the grcater of twice the gross gain to the defendant or twice the gross loss to any person underl8
    U.S.C. $ 3571(c) and (d); a term of probation of frve years, pursuant to lE U.S.C. $ 3561(cXl);
    and a special assessment $1,600 ($400 per count and per defendant), pursuant to l8 U.S.C. $
    30 l3(a[2[B). The special assessment must be paid on the date of sentencing. Failure to pay this
    special assessment may result in the Plea Agreement being voided.

            Defendants further understand that, in addition to any other penalty, the Court may order
    the payment of restitution to any victim of the offenses pursuant to the provisions of l8 U.S.C.
    $ 3663. The parties are unalvane of any applicable restitution in this case.

             Pursuant to Federal Rule of Criminal Procedure ll(c)(l)(C), the Govemmenl Prive
    Overseas and Prive Shipping agree and stipulate to the following plea and sentence applicable to
    tlris case:

             (1) Counts: Dcfendants Prive Overseas and Prive Shipping each agree to plead guilty to
                 Counts I - 4 as set forth above and detailed in the Criminal Information.

             (2) Factual Basis: Defendants Prive Overseas and Prive Shipping eaclr admit that they are
                 guilty of Counts I - 4 ofthe Bill of Information, by and through ttre acts and omissions
                  of their agents and employees, acting within the scope of their agency and
                  employment, and with the intent at least in part, to benefit Prive Overseas and Prive
                  Shipping; and that the Joint Factual Statement is a true and accurate statement of
                  their criminal conduct and provides a sufficient factual basis for the pleas.

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        (3) Scope: In exchange for the Defendants' gr.rilty plea, and the promises set forth herein,
            the United States Attorney's Office for the Eastern District of Louisiana and the
           Environmental Crirnes Section agree to forgo additional criminal prosecution against
           the Defendants, Prive Overseas and Prive Shipping, and two related entities, Prive
           Holding, and Petro Plus General Trading LLC, in the Eastern District of Louisiana for
           the offenses set forth in the Bill of lnformation or for any other related criminal
           offenses that are known to the Govemrnent at the time of the signing of this
           Agreement. Defendants understand and agree that neither this paragraph nor this
           Agreement limis the prosecuting authority of any other sections or divisions of the
           Department of Justice, including the U.S. Attorney of any other judicial dishict, or
           any other federal, state or local regulatory or prosecuting authorities. Furthermore.
           this Plea Agreement does not provide or prornise any waiverof any civil or
           administrative actions, sanctions, or penalties that may apply, including but not
           limited to: fines, penalties, claims for damages to natural rcsources, suspension,
           debarment, listing to rcstrict righs and opportunities ofthe defendants to contract with
           or receive assistance, loans, and benefits from United States agencies, licensing,
            injunctive relief;, or remedial action to comply with any applicable regulatory
            requirement. This Agrcement applies only to Prive Overseas and Prive Shipping and
            has no effect on any proceedings against any defendant not expressly mentioned
            herein, including the actual or potential criminal liability of any individuals.

        (4) Paymens: Defendants Prive Overseas and Prive Shipping shall pay a total penalty of
            $2,000,000. Defendants understand and agree that under the terms of this Agreement
            they have joint and several liability for all payments required by this agreement. The
            amount of$1.5 million will be paid as a criminal fine within twenty days of sentencing
            from the surcty bond posted by the Defendants pursuant to the Security Agreement.
            The fine shall be apportioned as follows: $500,000 to Count l, and $1,000,000 to
            Count 2.


        (5) Community Service: Defendants Prive Overseas and Prive Shipping shall pay
            $500,000 to the National Fish & Wildlife Foundation (*NFWF") as organizational
            community service pursuant to $ EBl.3 of the U.S.S.G. and in furtherance of
            satisling the sentencing principles provided for under 18 U.S.C. $ 3553(a).
            Defendants shall assume no responsibilities or obligations other than rnaking the
            payments as described and shall have no rights whatsoever with respect to the
            disposition of the community service payment funds once paid. Because the
            community service payments are designated as a criminal payment by an
            organization, Defendants agree that neither it nor any related entity will seek any
            reduction in its tax obligations as a rrsult of these communigl service payments. In
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          addition, since these payments constitute community service as part of Defendants'
          guilty plea, neither Defendants nor any rclated entity or agent will characterize,
          publicize or refer to the community service payment as voluntary donations or
          charitable contributions.

           a. NFWF is a nonprofit organization established by the United States Congress
              pursuant to l6 u.s.c. $0 3701-3710. Is purposes include the acceptance and
              administration of "proper(y . . . to further the conservation and management of
              fish, wildlife, plants, and other natural resources," and the performance of "such
              other activities as willfurther the conservation and management of the fish,
              wildlife, and plant resources of the United States, and its territories and
              possessions for present and future generations of Americans." l6 U.S.C. $
              3701(bxl), (2). NFWF is empowered to "do any and all acts necessary and
              proper to carry ouf' these purposes, including, specifically, solicitation,
              acceptance, administration, and use of"any gift devise or bequest. . . ofreal or
              personal propety." l6 U.S.C. $ 3703(cXl), (1 l).

              NFWF's Congressional charter mandates that it be governed by a Board of
              Directors that includes the Director of the United States Fish and Wildlife
              Service, the Under Secretary of Commerce for Oceans and Atmosphere, and
              various individuals educated or experienced in fish, wildlife, ocean, coastal, or
              othernaturalresource conservation. l6 U.S.C. $ 3702(bXl), (2). NFWF is also
              required by its charter to submit to Congrcss annually a report of its proceedings
              and activities during such year, including a full and complete statement of its
              receipts, expenditures, and investments. l6 U.S.C. $ 3706(a), (b). Defendants
              shall make the $500,000 payment within seven days after the date of entry of
              Judgment tiom the surety bond posted by the Defendants pursrlant to the
              Security Agrcement. Payment shall be made in the form of a certified check
              payable to the National Fish and Wildlife Foundation and mailed to the attention
              of is Chief Financial Officer at I l3 3 I 5th Street, NW, Suite I I 00, Washington,
               DC 20005, or by electronic funds transfer in accordance with written
               instructions to be provided to the Defendants by NFWF at the time of transfer.
               ln either case, Defendants' payment shall include a reference to the case caption
               and number in this proceeding. NFWF shall obligate the funds paid to it to
               appropriate projects and initiatives pursuant to this Plea Agreement within five
               years of the date of entry of Judgment in this case. NFWF shall further report
               to the United States Probation Office for the Eastern District of Louisiana and
               to the United States Department ofJustice, on at least an annual basis, regarding
               the status and disposition ofthe frrnds it has received pursuant to this Section,
               until all such funds have been expended.

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                                                                     Prive Overseas Marine
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           b. Pursuant to this Agreement, NFWF shall use the $500,000 community service
               payment to fund projects and initiatives benefitting the marine environment and
               marine and coastal natural rcsources and habitat within the Eastern District of
               Louisiana, The projects and initiatives considered for funding by NFWF shall be
               focused on environmental restoration, establishment, enhancement and/or
               preservation of fish, wildlife, and ecosystems, and amelioration and remediation
               ofpollutiou, and other threats to the marine and coastal environment and
               ecosystems.

        (6) Special Assessment: As set forth above, defendants Prive Overseas and Prive
            Shipping must each pay a special assessment fee of$1,600 ($400 per count and per
           defendant) which is due in full on the day of sentencing.

        (7) Probation: Defendants Prive Overseas and Prive Shipping shall be placed on
            organizational probation, starting fipm the date of sentencing and lasting a term of
            four years. ln addition to whatever standard probation conditions might be imposed
            by the Court, defendants Prive Overseas and Prive Shipping shall be subject to the
            following Special Conditions of Probation:

            a. Defendants shall commit no further violations of MARPOL 73178 or the
                environmental Iaw of the United States.

            b. Payment in full of ttre monetary amounts set forth herein including all special
                assessments and fines.

            c. At its own expense, and at no expense to the Govemment or the Court,
                Defendants and Prive Holding the parent corporation ofboth defendants, agree
               to fully fund and implement the Environmental Compliance Plan ("ECP")
                subject to rcview and approval by the United States and consistent with USSG
                $8Dl .4, and attached hercto as Attachment B and incorporated herein. As set
                forth in Attachment B, vessels covered by the ECP and all shore side offices
                involved in technical management must be audited by an outside and
                independent auditor subject to approval by the United States (Third Party
                Auditor ("TPA")). An independent Court Appointed Monitor ("CAM") subject
                to approval of the United States wil[ be appointed to rcview audit results, assure
                overall compliance and report to the Court. All audis must be done underway
                in accordance with the ECP and each vessel must be audited at least two times
                during the period of probation unless the TPA or the CAM recommends
                additional audits. Defendants and Prive Holding understand and agree that the

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                                                                              Prive Shipping
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                   ECP will be included in the Special Conditions of Probation and that any
                   violation of its terms by Defendant or Defendant's parent, or any of its related
                   entities or vessels covered by the ECP, may be grounds for the revocation of
                   probation as to the Defendants. Covered vessels will include all ships holding a
                   Certificate of Financial Responsibility under the Oil Pollution Act of I 990.

                d. Defendauts will not engage, participate, or assist in, or fund, any post-trial
                   Iitigation or ancillary litigation brought by any person againstthe United States
                   or any agency or person thereof.

          Aoplication of the Asreernent: This Agreement shall bind the Defendants and their
  successors and assigns and parent and related corporations. Defendants shall further provide each
  undersigned prosecuting office and the United States Probation Office in the Eastern District of
  Louisiana with immediate notice of any name change, sale, purchase, or reorganization of a
  corporate entity or vessels subject to the ECP, signing or tennination of ship management
  contracts, or similar significant action affecting this Agreement or the ECP. No change in name,
  change in corporate or individual control, corporate reorganization, change in ownership, merger,
  change of legal status, sale, or purchasc of vessels, signing or termination of ship management
  contracts, or similar action shall alter the responsibilities of the defendants under this Agreement.
  Defendants understand and agree that they shall not engage in any action to seek to avoid the
  obligations and conditions set forth in this Agreemenl including the special conditions of
   probation and thc ECP.

            Rule I l(cX I )(C) Plea: The parties have entered into this Agreement pursuant to Federal
   Rule of Criminal Procedurc I l(cXlXC) with the understanding thatthe Court can either accept or
   reject the Agreement but may not modiff is terms. If the District Court rcjects the Plea Agreement
   then each Defendant will have the riglrt to witlrdraw their guilty plea. Defendants understand and
   agree that plea and sentcncing will occur at different proceedings and that they witl not seek to
   combinc plea and sentencing on the same date.

          Appellate and Other Waivers of the Defendants: Defendants understand that Title 18, United
   States Code, Section 3742 and Title 28, United States Code, Section 1291, may give a criminal
   defendant the right to appeal a conviction, sentence, restitution, fine, and judgment imposcd by the
   Court. Defendants also understands that ordinarily they may lrave the right to file collateral
   challenges to conviction and sentence, and judgmeng including but not limited to rights provided
   by Title 28, United States Code, Sections 2255 and 2241, Rule 60 of the Federal Rules of Civil
   Procedure, Rule 36 of the Federal Rules of Criminal Procedure, and writs of coramnobk and audita
   querela. Acknowledging these rights, subject only to the exceptions specifically indicated below,
   each Defendan! in exchange for the promises and Agreements made by the United States in this
   Plea Agreement, knowingly and voluntarily:

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       (1) Waives and gives up any right to appeal or contest its guilty plea, conviction,
            sentence, fine, supervised release, and any restitution imposed by anyjudge under
            any applicablc rrstitution statute, including but not limited to any right to appeal any
            rulings on pretrial motions of any kind whatsoever, as well as any aspect of its
            sentence, including but not limited to any and all rights which arise under Title I 8,
            United States Code, Section 3742 and Title 28, United States Code, Section 1291.

       (2) Waives and gives up any right to challenge its sentence collaterally, including but
            not lirnited to any and all rights which arise under Title 28, United States Code,
            Sections 2255 and 2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36
            of the Federal Rules of Criminal Procedure, writs of corum nobis, audita querela,
            and any other collateral challenges to its sentence ofany kind.


       (3) Waives any right to seek or pursue attomeys' fees or other litigation expenses, or
            damages under the Hyde Amendmen! l8 U.S.C. $ 3006A, and each acknowledges
            that the Government's positions and prosecution of this matter were not vexatious,
            frivolous, or in bad faith. Defendants further agree that Prive Overseas and Prive
            Shipping, or any affiliated entity or any agents acting on their behalf now or in the
            future, waive any and all claims against the tJnited States Coast Guard, U.S.
            Department of Homeland Security, U.S. Departnent of Justice, or agent, cmployee,
            or contractor of any govemmental entity, which relate to any aspect of the
            inspection, examination, and detention of the P.S. Dream or the criminal
            investigation of this matter, including any related surety or Agreement on Security.
            Defendants each firrther agre,e that they will nnt pttrsttn or in any wny \rrnnnrt,
            directly or indircctly, any legal action or lawsuits, including those brought by third
            parties, against the United States or any agency, or any pesonnel, related to the
            inspection, investigation,or prosecution of Defendants in this matter or involving
            the P.S. Drean. Defendants further agree to take no position on whether or to what
            extent the Court should issue an award pursuant to the Act to Prevent Pollution fiom
            Ships and that neither they nor their attomeys will take any position on any
             application for an award if one is made, unless requested to do so by the United
            States.

        (4) Waives any and all defenses and claims with regard to the statute of lirnitations,
            laches, or any other arguments that any aspect of the charges is time-barred. In the
            event that this Agreement is not accepted by the Court for any reason, or the
            Defendants breach any of theterms ofthis Agreement, the statute of limitations shall
            be deemed to be tolled from the date of the Plea Agrcement to: (l) 120 days
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               following the date of non-acceptance of the Plea Agreement by the Courq or (2) 120
               days following the date on which a breach of the PIea Agreement by the either
               Defendant is discovered by the government.

         (5) Defendants agree that the criminal fine and special assessment are not dischargeable
               irr bankmptcy or an insolvency proceeding and that the defendant will not seek or
               cause to be sought a discharge or finding or dischargeability as to the criminal fine
               or special assessment.

          (6) Defendans recognize that any criminal monetary penalty, whether special
               assessment, criminal fine, or restitution, that is owed as a result of their conviction
               witl be irnmediately submitted to the Trcasury Offset Program. Defendants waive
               any objection to their inclusion in the Treasury Offset Program.

          (7) Dcfendants each knowingly, voluntarily, and expressly waive its rights pursuant to
               Rule 410(a) of the Federal Rules of Evidence upon signing this Plca Agreement and
               the factual basis. Defendants understand and agree that in the event they violatc the
               Plea Agreernent or withdraw their decision to plead guilty, then any statements
               made by Defendants, including any statements made in court proceedings or in the
               joint factual statement, leads from such statements, factual bases or summaries, slrall
                be admissible for all purposes against Defendants in any and all criminal
                proceedings. The only exception to this paragraph is where the Defendants fully
                comply with this agreement, but the Court nonetheless rejects it Under those
                circumstances, the United States may not use those statements of the Defendants for
               8ny purpose.

               Corporate Authorization. Defendant Prive Overseas and Prive Shipping each reprcsent
    that it is authorized to enter into this Plea Agreement and to bind itself to the tetms and funding of
    the ECP. At the time of signing this Agreement, each defendant and Prive Holding shatl provide to
    the United States a written statcment in the form of a duly authorized corPorate resolution
    certifuing that Defendants are authorized to enter into and comply with all of the provisions of this
     Plea Agreement and that Prive Holding is authorized to guarantee all payments, including those
    necessary to comply with the terms of probation and the ECP. The resolutions further shall certifu
    that each entity's Officers or Board of Directors have authorized these actions, and that all
     corporate formalities for such authorizations have been observed'




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                                                                            Prive Overseas
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          Completeness: Defendants understand that the statements set forth above and in thc attached
   joint factual statement and ECP represent each Defeudant's Agreement with the Govemment; that
   there are not any other Agreements, letters, or notations that will affect this Agrcement. This
    Agreement will be final when signed by all parties and filed in Court. The tenns set forth herein
   rcmain subject to review and approval by both prosecuting offices.

                                                               Very truly yours,



           TODD KIM                                            DUANEA. EVANS
           Assistant Attorney General                          United States Attorney
           Environmcnt & Natural Resources Division
           U.S. Department of Justice




                   A
                  Litigation Counset                           Christine M. Calogero (3681
           Ryan Connors                                        Assistant U.S Attomeys
           SeniorTrial Attorney                                650 Poydras Street, Suite 1600
           Env ironmental Crimes Section                       New Orleans, LA 70130
           U.S. Department of Justice                          Telephone: (504) 680-3 168
           I50 M St., N.E./Room 4206                           Email: dal l.karnmer@usdoj.gov
           Washington, D.C.20044                               Email: Chrissy.Calogero@usdoj'gov
           Telephone: (202) 305-0361
           Email;@
           Email : rvan.connors@usdoj.rov




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   FORTITE DETENDANTS.

   On behalf of the Defendant Pnve Overseas Marine, I have been authorized by a corporate resolution
   to sigr and bind Prive Overseas Manne to this Plea Agreement. Prive Overseas Marine has been
   advised by its attomeys of ic righs, of possible defenses, of the Sentencing Guideh"ne provisions,
   and ofthe consequences of entering into this Agreement. Prive Overseas Marine voluntarily agrees
   to all ofthe terms ofthis Agreement. No promises or inducements have been made to Prive Overseas
   Marine other than those contained in this Agreemenl No one has threatened or forced kive
   Overseas Marine in any way to enter into this Agreement. Prive Overseas Marine is satisfied by the
   representation of its attomeys in this matter


   Ercan Yilmaz Authorized                        / 16th          ot2024
   Name/Title/Date


   Signature



   On behalf of ttre Defendant Prive Shipping Denizcilik Ticaret A.S., I have been authorized by a
   corporate resolgtion of Prive Shipping to sign and bind Prive Shipping to this Plea Agreement.
   Privc Shipping has bcenadvised by its attomeys of is righs, of possible dcfcrncs, of the
   Scntencing Guideline provisions, and of the consequences of entering into tris Agreement. Prive
   Shipping volunarily agecs to all of the terms of this Agreemenl No promises or inducements
   have been made to Prive Shipping othcr than those contained in this Ageement. No one has
   ttreatened or forced Prive Shipping in any way to enter into this Agreement. Prive Shipping is
   satistied by the reprcsentatron of rts attomeys rn thrs matter.

   Ercan Yilmaz Authorized representative / 16th May ot 2024
   Name/Title/Date


   Signdurc




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   On behalf of the Prive Holding, the parent corporation of Defendants Prive Overscas Marine and
   Prive Shipping Denizcilik Ticaret A.S., I have been authorized by a corporate resolution to sign and
   bind Prive Holding company to its obligations under this Agreemen! including the firnding of the
   ECP. Prive Holding has been adviscd by its attorneys of its rights, of possiblc defenseq of the
   Sentencing Guideline provisions, and of the consequences of entering into this Agreement. Prive
   Holding voluntarily agrees to all of the terms of this Agreement. No promises or inducements have
   been made to Prive Holding other than those contained in this Agreement. No one has threatened
   or forced Prive Holding in any way to enter into this Agreement. Pnve Holding is satisfied by the
   representation of its attomeys in this matter.

   Ercan Yilmaz Authorized representative / 16th May of 2024
   NamdTitlelDate


   Signature



   I am counsel for Prive Overseas Marine, Prive Shipping and Prive Holding. I have dscussed wery
   part of this Agreement wrth thc authonzed represcntatives of Prive Overseas Marine, Prive
   Shipping, and Prive Holding. I have advised both defendant corporations and Prive Holding oftheir
   rights, of possible defenses, of the Sentencing Guidelincs provisions, and of the consequences of
   entering into this Agreement. To my knowledge, the decisions of Prive Overseas, Prive Shipping
   and Prive Holding to enter into this Agreement are informed and voluntary.

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            for Prive Overseas Marine, Prive Shipping, an Prive Holdrng




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